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 1   CANDACE A. FRY
     CA Bar No. 68910
 2   2401 Capitol Avenue
     Sacramento, CA 95816
 3   Telephone: (916) 446-9322
     FAX: (916) 446-0770
 4
     Attorney for CASSANDRA MUNIZ,
 5   Defendant
 6
 7
 8                       IN THE UNITED STATES DISTRICT COURT
 9                      FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,          )
                                        )
12                   Plaintiff,         )   No. CR.S-04-0388-MCE
                                        )
13        v.                            )   STIPULATION AND ORDER MODIFYING
                                        )   CONDITIONS OF PRETRIAL RELEASE
14   CASSANDRA MUNIZ,                   )   AND EXONERATING UNSECURED
                                        )   APPEARANCE BOND
15                   Defendant.         )
                                        )
16                                      )
17
18        The parties hereto, by and through their counsel, stipulate and
19   agree that the conditions of pretrial release imposed by this Court on
20   September 24, 2004, later modified by Stipulation and Order dated
21   December 28, 2004, shall be further modified as follows:
22        1.   The condition ordering defendant Cassandra Muniz released to
23   the third party custody of her parents, Gerardo and Diana Muniz, is
24   vacated and the unsecured appearance bond in the amount of $50,000.00
25   executed by the defendant and her parents is exonerated.
26        2.   The following new conditions are imposed: (a) defendant
27   Cassandra Muniz shall reside at the home of Reuben and Janie Ayala, the
28   paternal grandparents of her child, in Colusa, California; (b) within


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 1   ten days of entry of this order, the defendant, Reuben Ayala and Janie
 2   Ayala shall execute and file herein an unsecured appearance bond in the
 3   amount of $50,000.00; and (c) the defendant shall not move or absent
 4   herself from this residence for more than 24 hours without the prior
 5   approval of the Pretrial Services Officer.
 6        All other conditions of pretrial release, not specifically
 7   modified herein, shall remain in full force and effect.
 8        These modifications are made with the approval of Pretrial
 9   Services.
10
11   Dated:   June 15, 2005                        /s/Candace A. Fry
                                                   CANDACE A. FRY, Attorney for
12                                                 CASSANDRA MUNIZ, Defendant
13
     Dated:   June 15, 2005                        McGREGOR W. SCOTT
14                                                 United States Attorney
15                                                 /s/Phillip A. Talbert
                                              By       by Candace A. Fry
16                                                 PHILLIP A. TALBERT
                                                   Assistant U.S. Attorney
17
                                                   (Signed for Mr. Talbert with
18                                                 his telephonic authorization)

19
20                                     O R D E R
21            IT IS SO ORDERED.
22        Dated:   June 20, 2005.
23                                              /s/ Peter A. Nowinski
24                                              PETER A. NOWINSKI
                                                Magistrate Judge
25
26
27
28


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